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AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 United States District Court
                                                         DISTRICT OF                           KANSAS

GLADIS PERSON,

                                                                            JUDGMENT IN A CIVIL CASE
                                                Plaintiff,
                                     V.
                                                                            CASE NUMBER: 10-2419-EFM
NCO FINANCIAL SYSTEMS, INC.,



                                                Defendant.
      Jury Verdict. This action came before the Court for a trial by jury, The issues have been tried and the jury has rendered
      its verdict.
  ✘ Decision by Court. This action came before the Court. The issues have been considered and a decision has been
        rendered.

 IT IS ORDERED AND ADJUDGED

 that pursuant to the Memorandum and Order (Doc. 22) filed on August 19, 2011, Plaintiff's Motion for Order of
 Judgment including Attorneys Fees and Costs (Doc. 19) is GRANTED.

 The case is dismissed on the merits.


 IT IS SO ORDERED.




 12/14/2011                                                         TIMOTHY
                                                                    RALPH L. M. O'BRIEN
                                                                             DeLOACH
 Date                                                               Clerk


                                                                                        /s Cindy McKee
                                                                   (By) Deputy Clerk
